USDC IN/ND case 3:08-cr-00117-RLM-CAN        document 17   filed 12/01/08   page 1 of 1


                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION

 UNITED STATES OF AMERICA                )
                                         )
             vs.                         )          No. 3:08-CR-117(2) RM
                                         )
 JULIE A. COSTELLO                       )
                                         )


                                      ORDER
       No objections have been filed to the magistrate judge’s findings and

 recommendation upon a plea of guilty issued on October 31, 2008 [Doc. No. 15].

 Accordingly, the court now ADOPTS those findings and recommendation,

 ACCEPTS defendant Julie A. Costello’s plea of guilty, and FINDS the defendant

 guilty of Count 1 of the Information, in violation of 18 U.S.C. § 664.

       SO ORDERED.

       ENTERED:      December 1, 2008




                                           /s/ Robert L. Miller, Jr.
                                       Chief Judge
                                       United States District Court
